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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 09-cv-02080-REB-KLM

  SPACECON SPECIALTY CONTRACTORS, LLC,

               Plaintiff,

  v.


  RICHARD BENSINGER, an individual


               Defendant.


                    JOINT MOTION TO AMEND SCHEDULING ORDER

                  TO EXTEND DISCOVERY CUTOFF FOR DEPOSITION


        Plaintiff Spacecon Specialty Contractors, LLC (“Spacecon”) and Defendant

  Richard Bensinger (“Mr. Bensinger”), respectfully move the Court to amend the

  discovery cutoff only to allow Plaintiff to take the Rule 30(b)(6) deposition of the

  Carpenters District Council Of Kansas City And Vicinity (”District Council”) on Tuesday,

  June 15, 2010, for the reasons set forth below:

        1.     Pursuant to the Court’s Order of April 5, 2010 [Docket No. 48], the

  Discovery Cutoff in this case is Monday, June 14, 2010.

        2.     Plaintiff served a Rule 30(b)(6) deposition subpoena on the District

  Council and noticed the deposition for Tuesday, June 2, 2010.
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        3.     The District Council has determined and advised counsel for both parties

  that the representative appropriate to testify for the District Council on the matters

  specified in Plaintiff’s subpoena is unavailable before June 15.

        4.     Counsel for the District Council and for both parties in this case are

  available on June 15 and have agreed to reschedule the deposition to June 15, subject

  to the Court’s granting the requested one day extension of the Discovery Cutoff for that

  purpose

        5.     A proposed order is submitted with this joint motion.

  Dated May 27, 2010:



  s/ Lawrence W. Marquess                         s/ Richard Rosenblatt
  Lawrence W. Marquess                            Richard Rosenblatt, Esq.
  Chris Leh                                       RICHARD ROSENBLATT &
  Danielle L. Kitson                              ASSOCIATES, LLC
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                                                  ATTORNEYS FOR DEFENDANT
                                                  RICHARD BENSINGER




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